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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                            Case No. 3:22-cr-51/TKW-01

CHAD E. DENNISON
_____________________________/

                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, CHAD E. DENNISON, to Count One of the superseding indictment is

hereby ACCEPTED. All parties shall appear before this Court for sentencing as

directed.

      DONE and ORDERED this 25th day of October, 2022.




                                    __________________________________
                                    T. KENT WETHERELL, II
                                    UNITED STATES DISTRICT JUDGE
